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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


  WHITMAN-WALKER CLINIC, INC.,
    et al.,

                               Plaintiff,
                                                       No. 1:20-cv-01630-JEB
        v.

  U.S. DEPARTMENT OF HEALTH
     AND HUMAN SERVICES, et al.,

                               Defendants.


                        NOTICE OF WITHDRAWAL OF COUNSEL

       I, Josephine Morse, hereby withdraw as counsel for amicus curiae the United States

House of Representatives. The House will continue to be represented by the other attorney who

has entered an appearance in this case.


                                             Respectfully submitted,

                                             /s/ Josephine Morse
                                             Josephine Morse (D.C. Bar No. 1531317)
                                                  Deputy General Counsel

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January 19, 2021
